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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Lillian Andrews, et al. JUDGE FALLON

v.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Daniel M. Bryant

Docket No. 2:06-cv-06443

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3H 2 2 ee 2 a oe 2 ee ee 2 oo ke oo ko Ko eke

ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiff Daniel M. Bryant in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own
costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
